            Case 1:23-cv-00707-DAE Document 50 Filed 11/02/23 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION


 NATIONAL INFUSION CENTER
 ASSOCIATION et al.,

                       Plaintiffs,

             v.                                           Case No. 1:23-cv-00707-DAE

 XAVIER BECERRA, in his official capacity
 as Secretary of the Department of Health and
 Human Services, et al.,

                       Defendants.


                       DEFENDANTS’ NOTICE OF SUPPLEMENTAL
                     AUTHORITY IN SUPPORT OF MOTION TO DISMISS
        Defendants respectfully submit this Notice regarding a recent factual development that is

relevant to the Article III standing arguments in Defendants’ motion to dismiss, ECF No. 39.

        In response to Plaintiffs’ (belated) theory of standing relating to possible future financial harm

in connection with the price of Stelara, Defendants explained that “according to public reporting (and

statements by the manufacturers themselves), the launch of a biosimilar competitor to Stelara is

expected no later than early 2025.” Defs.’ Mot. to Dismiss Reply at 8, ECF No. 49 (citation omitted).

That possibility—unaccounted for in Plaintiffs’ filings—was significant because, as Defendants have

explained, “[i]f those predictions are realized, Stelara will be deselected, and negotiated prices will never

take effect for the administration of Stelara under Part B. See 42 U.S.C. § 1320f-1(c).” Id.

        Those predictions are now, in fact, beginning to be realized. Earlier this week, the Food and

Drug Administration approved Wezlana, a biosimilar competitor to Stelara manufactured by Amgen,

Inc. 1 See News Release: FDA Approves Interchangeable Biosimilar for Multiple Inflammatory Diseases (Oct.

31, 2023), https://perma.cc/5X69-LR3A. The approval of Wezlana underscores the degree to which


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            Amgen, Inc. is no stranger to this litigation. See Decl. of Patrick Costello, ECF No. 35-6.
          Case 1:23-cv-00707-DAE Document 50 Filed 11/02/23 Page 2 of 2




Plaintiffs’ standing theory relies on “unsupported speculation about harms NICA’s members might

suffer ‘no later than 2028,’” Defs.’ Mot. to Dismiss Reply at 1 (quoting Pls.’ Opp’n at 13, ECF No.

47), which cannot support Article III standing.


Date: November 2, 2023                            Respectfully submitted,

                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General

                                                  JAIME ESPARZA
                                                  United States Attorney

                                                  MICHELLE R. BENNETT
                                                  Assistant Branch Director

                                                  /s/ Stephen M. Pezzi
                                                  STEPHEN M. PEZZI
                                                   Senior Trial Counsel
                                                  ALEXANDER V. SVERDLOV
                                                  CHRISTINE L. COOGLE
                                                   Trial Attorneys
                                                  United States Department of Justice
                                                  Civil Division, Federal Programs Branch
                                                  1100 L Street NW
                                                  Washington, D.C. 20005
                                                  (202) 305-8576
                                                  stephen.pezzi@usdoj.gov
                                                  Counsel for Defendants




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